           Case 4:07-cv-05944-JST Document 3461-1 Filed 01/23/15 Page 1 of 5



 1 Jon V. Swenson (SBN 233054)
   BAKER BOTTS LLP
 2 620 Hansen Way
   Palo Alto, CA 94304
 3
   Telephone: (650) 739-7500
 4 Facsimile: (650) 739-7699
   Email: jon.swenson@bakerbotts.com
 5
   John M. Taladay (pro hac vice)
 6 Erik T. Koons (pro hac vice)
   Charles M. Malaise (pro hac vice)
 7 BAKER BOTTS LLP
   1299 Pennsylvania Ave., N.W.
 8 Washington, DC 20004-2400

 9 Telephone: (202) 639-7700
   Facsimile: (202) 639-7890
10 Email: john.taladay@bakerbotts.com
   Email: joseph.ostoyich@bakerbotts.com
11 Email: erik.koons@bakerbotts.com
   Email: charles.malaise@bakerbotts.com
12
   Attorneys for Philips Electronics North America
13 Corporation, Philips Taiwan Limited, and Philips do
   Brasil, Ltda.
14
                                   UNITED STATES DISTRICT COURT
15
                                NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17
                                                            ) Case No. 07-5944-SC
18 In re: CATHODE RAY TUBE (CRT)                            )
   ANTITRUST LITIGATION                                     ) MDL No. 1917
19                                                          )
                                                            ) DECLARATION OF TIFFANY B. GELOTT
20                                                          ) IN SUPPORT OF DEFENDANTS PHILIPS
     This Document Relates to:                              ) ELECTRONICS NORTH AMERICAN
21                                                          ) CORPORATION’S, PHILIPS TAIWAN
   Electrograph Sys., Inc. v. Hitachi, Ltd.,                ) LIMITED’S, AND PHILIPS DO BRASIL
22 No. 11-cv-01656;                                         ) LTDA.’S REPLY IN SUPPORT OF
                                                            ) MOTION FOR PARTIAL SUMMARY
23 Electrograph Sys., Inc. v. Technicolor SA,               ) JUDGMENT
                                                            )
24 No. 13-cv-05724;                                         ) Date:          February 6, 2015
                                                            ) Time:          10:00 a.m.
25 Siegel v. Hitachi, Ltd.,                                 ) Place:         Courtroom 1, 17th Floor
   No. 11-cv-05502;                                         )
26                                                          ) Hon. Samuel P. Conti
                                                            )
   Siegel v. Technicolor SA,                                )
27 No. 13-cv-05261;
                                                            )
28                                                          )
     Best Buy Co., Inc. v. Hitachi, Ltd.,                   )

       DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PHILIPS SUBSIDIARIES’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                                    SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
          Case 4:07-cv-05944-JST Document 3461-1 Filed 01/23/15 Page 2 of 5



 1 No. 11-cv-05513;                                        )
                                                           )
 2 Best Buy Co., Inc. v. Technicolor SA,                   )
   No. 13-cv-05264;                                        )
 3                                                         )
                                                           )
 4 Interbond Corp. of Am. v. Hitachi, Ltd.,                )
   No. 11-cv-06275;                                        )
 5                                                         )
   Interbond Corp. of Am. v. Technicolor SA,               )
 6 No. 13-cv-05727;                                        )
                                                           )
 7                                                         )
   Office Depot, Inc. v. Hitachi, Ltd.,                    )
 8 No. 11-cv-06276;                                        )
                                                           )
 9 Office Depot, Inc. v. Technicolor SA,                   )
   No. 13-cv-05726;                                        )
10                                                         )
                                                           )
11 CompuCom Sys., Inc. v. Hitachi, Ltd.,                   )
   No. 11-cv-06396;                                        )
12                                                         )
   P.C. Richard & Son Long Island Corp. v.                 )
13 Hitachi, Ltd.,                                          )
   No. 12-cv-02648;                                        )
14                                                         )
                                                           )
15 P.C. Richard & Son Long Island Corp. v.                 )
   Technicolor SA,                                         )
16 No. 13-cv-05725;                                        )
                                                           )
17 Schultze Agency Servs., LLC v. Hitachi, Ltd.,           )
   No. 12-cv-02649;                                        )
18                                                         )
                                                           )
19 Schultze Agency Servs., LLC v. Technicolor SA,          )
   No. 13-cv-05668;                                        )
20                                                         )
   Tech Data Corp. v. Hitachi, Ltd.,                       )
21 No. 13-cv-00157;                                        )
                                                           )
22 Sears, Roebuck and Co. and Kmart Corp. v.               )
                                                           )
23 Technicolor SA,                                         )
   No. 13-cv-05262                                         )
24                                                         )
   Sears, Roebuck and Co. and Kmart Corp. v.               )
25 Chunghwa Picture Tubes, Ltd.,                           )
   No. 11-cv-05514                                         )
26                                                         )
                                                           )
27 Sharp Electronics Corp. v. Hitachi Ltd.,                )
   No. 13-cv-1173 SC                                       )
28                                                         )
   Sharp Electronics Corp. v. Koninklijke Philips          )
                                                          -1-
      DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PHILIPS SUBSIDIARIES’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
         Case 4:07-cv-05944-JST Document 3461-1 Filed 01/23/15 Page 3 of 5



 1 Elecs., N.V.,                                           )
   No. 13-cv-2776 SC                                       )
 2                                                         )
   ViewSonic Corp. v. Chunghwa Picture Tubes,              )
 3                                                         )
   Ltd.,                                                   )
 4 No. 14-cv-2510 SC                                       )
                                                           )
 5 All Indirect Purchaser Actions                          )
                                                           )
 6                                                         )
                                                           )
 7                                                         )
                                                           )
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                          -2-
      DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PHILIPS SUBSIDIARIES’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
          Case 4:07-cv-05944-JST Document 3461-1 Filed 01/23/15 Page 4 of 5



 1         I, Tiffany Gelott, declare and state as follows:

 2         1.      I am an attorney with Baker Botts LLP, attorneys for Philips Electronics North America

 3 Corporation (“PENAC”), Philips Taiwan Limited (“PTL”), and Philips do Brasil, Ltda. (“PDBL”)

 4 (collectively, the “Philips Subsidiaries”) in the above-captioned action. I am a member of the bar of

 5 the District of Columbia and have been admitted to practice before this Court on this matter pro hac

 6 vice. I make this declaration in support of the Philips’ Subsidiaries’ Reply in Support of Motion for

 7 Partial Summary Judgment. The information contained herein is based on my own personal

 8 knowledge, and if called as a witness I could, and would, testify competently that the matters set forth

 9 herein are true.

10         2.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts of the Deposition of

11 Jim Smith (12/12/2013) (“Smith Dep.”).

12         3.      Attached hereto as Exhibit 2 is a true and correct copy of the document bearing bates

13 number, PHLP-CRT-148288, that was produced in this litigation by Koninklijke Philips N.V

14 (“KPNV”) and PENAC.

15         4.      Attached hereto as Exhibit 3 is a true and correct copy of the document bates numbers,

16 PHLP-CRT-150976 through PHLP-CRT-150977, that was produced in this litigation by KPNV and

17 PENAC.

18         5.      Attached hereto as Exhibit 4 is a true and correct copy of the document bates numbers,

19 PHLP-CRT-149177 through PHLP-CRT-149179, that was produced in this litigation by KPNV and

20 PENAC.

21         6.      Attached hereto as Exhibit 5 is a true and correct copy of the document bates numbers,

22 PHLP-CRT-064967 through PHLP-CRT-064968, that was produced in this litigation by KPNV and

23 PENAC.

24         7.      Attached hereto as Exhibit 6 is a true and correct copy of excerpts of the Deposition of

25 Jan De Lombaerde (10/9/2014) (“Lombaerde Dep.”).

26         I declare under penalty of perjury that the foregoing is true and correct to the best of my

27 knowledge and information.

28

                                                         -1-
      DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PHILIPS SUBSIDIARIES’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                                   SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
        Case 4:07-cv-05944-JST Document 3461-1 Filed 01/23/15 Page 5 of 5



 1        Executed on January 23, 2015 in Washington, D.C.

 2

 3                                                         /s/ Tiffany B. Gelott

 4                                                         Tiffany B. Gelott

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                        -2-
     DECLARATION OF TIFFANY B. GELOTT IN SUPPORT OF PHILIPS SUBSIDIARIES’ REPLY IN SUPPORT OF MOTION FOR PARTIAL
                                  SUMMARY JUDGMENT (3:07-CV-05944 SC, MDL NO. 1917)
